                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:21CV81-GCM

ANDRE ANTONIO DAVIS,                )
                                    )
      Plaintiff,                    )
                                    )
Vs.                                 )                    ORDER
                                    )
WILKINSON, et al.,                  )
                                    )
      Defendant.                    )
____________________________________)

        This matter is before the Court upon the United States’ Motion to Dismiss and Substitute
United States as Defendant. The pro se Plaintiff has responded and has agreed that the three
named Individual Federal Defendants, Monty Wilkinson, R. Andrew Murray, and Denis
McDonough, should be dismissed and the United States be substituted into this case.
Accordingly,
        IT IS THEREFORE ORDERED that the United States’ Motion to Dismiss and Substitute
is hereby GRANTED, and the above-named Individual Federal Defendants are hereby dismissed
from this case, and the United States is substituted as a Defendant herein;
        IT IS FURTHER ORDERED that the United States shall answer or otherwise respond to
Plaintiff’s Complaint.



                               Signed: October 6, 2021




         Case 3:21-cv-00081-GCM Document 10 Filed 10/06/21 Page 1 of 1
